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 5                               UNITED STATES DISTRICT COURT

 6                                       DISTRICT OF NEVADA

 7   UNITED STATES OF AMERICA,                          )
                                                        )
 8                          Plaintiff,                  )
                                                        )
 9          v.                                          )            2:09-CR-458-GMN (RJJ)
                                                        )
10   NARIS BLOUNT,                                      )
                                                        )
11                          Defendant.                  )

12                            PRELIMINARY ORDER OF FORFEITURE

13         This Court finds that on April 3, 2012, defendant NARIS BLOUNT pled guilty to Count Forty-

14   One and Count Forty-Two of a Forty-Three Count Indictment, charging him in Count Forty-One

15   with Mail Fraud in violation of Title 18, United States Code, Section 1341, and in Count Forty-Two

16   with Use of Unauthorized Access Devices in violation of Title 18, United States Code, Section

17   1029(a)(2).

18         This Court finds, pursuant to Fed. R. Crim. P. 32.2(b)(1) and (2), that the United States of

19   America has shown the requisite nexus between property set forth in the Forfeiture Allegations of

20   the Criminal Indictment and the offenses to which defendant NARIS BLOUNT pled guilty.

21         The following assets are subject to forfeiture pursuant to Title 18, United States Code, Section

22   981(a)(1)(C) and Title 28, United States Code, Section 2461(c); Title 18, United States Code,

23   Section 982(a)(2)(A) and (a)(2)(B); Title 18, United States Code, Section 1029(a)(2) and (c)(2); and

24   Title 21, United States Code, Section 853(p):

25                 1.     an in personam criminal forfeiture money judgment of $413.00 in United States

26                        Currency;
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 1                  2.     an in personam criminal forfeiture money judgment of $46,652.00 in United

 2                         States Currency;

 3                  3.     a spiral bound notebook containing the credit card numbers and identifiers used

 4                         to commit the fraud; and

 5                  4.     a Compaq Presario V5000 Laptop, serial number CND6290RGP (“property”).

 6         This Court finds the United States of America is now entitled to, and should, reduce the

 7   aforementioned property to the possession of the United States of America.

 8         NOW THEREFORE, IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that the

 9   United States of America should seize the aforementioned property.

10         IT IS FURTHER ORDERED, ADJUDGED, AND DECREED all right, title, and interest of

11   NARIS BLOUNT in the aforementioned property is forfeited and is vested in the United States of

12   America and shall be safely held by the United States of America until further order of the Court.

13         IT IS FURTHER ORDERED, ADJUDGED, AND DECREED the United States of America

14   shall publish for at least thirty (30) consecutive days on the official internet government forfeiture

15   website, www.forfeiture.gov, notice of this Order, which shall describe the forfeited property, state

16   the time under the applicable statute when a petition contesting the forfeiture must be filed, and state

17   the name and contact information for the government attorney to be served with the petition,

18   pursuant to Fed. R. Crim. P. 32.2(b)(6) and Title 21, United States Code, Section 853(n)(2).

19         IT IS FURTHER ORDERED, ADJUDGED, AND DECREED a petition, if any, must be filed

20   with the Clerk of the Court, 333 Las Vegas Boulevard South, Las Vegas, Nevada 89101.

21         IT IS FURTHER ORDERED, ADJUDGED, AND DECREED a copy of the petition, if any,

22   shall be served upon the Asset Forfeiture Attorney of the United States Attorney’s Office at the

23   following address at the time of filing:

24                  Michael A. Humphreys
                    Assistant United States Attorney
25                  Daniel D. Hollingsworth
                    Assistant United States Attorney
26                  Lloyd D. George United States Courthouse
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 1                 333 Las Vegas Boulevard South, Suite 5000
                   Las Vegas, Nevada 89101.
 2
           IT IS FURTHER ORDERED, ADJUDGED, AND DECREED the notice described herein
 3
     need not be published in the event a Declaration of Forfeiture is issued by the appropriate agency
 4
     following publication of notice of seizure and intent to administratively forfeit the above-described
 5
     property.
 6
           DATEDthis
           DATED this______
                      17th day
                            dayof
                                of April, 2012.
                                   __________________, 2012.
 7

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                                                   ________________________________
 9                                                 Gloria M. Navarro
                                                   UnitedSTATES
                                                  UNITED  States District
                                                                  DISTRICTJudgeJUDGE
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